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UNITED STATES DISTRICT COURT APR 0 7 2918

FOR THE DISTRICT OF COLUMBIA Clérk, U.S. District and
Bankruptcy Courts

 

JAY GLENN, §
§
PLAlNTIFF, §
§
v. §

§ No. 1:16-Cv-02498-RCL
THoMAs FORTUNE FAY; §
FAY LAw GRoUP, P.A.; §
STEVEN R. PERLES; AND §
PERLES LAW FIRM, P.C. §
§
DEFENDANTS. §

‘ Order: .
Granting the Parties’ Joint Motion for Appointment of Magistrate Judge
to Mediate this Lawsuit

 

Before the Court is the parties’ Joint Motion for Appointment of Magistrate Judge to
Mediate this Lawsuit [ECF #37]. The Court GRANTS the motion. The Court hereby reassigns
this lawsuit to Magistrate Judge G. Michael Harvey for mediation.

It is so ordered.

signed On ¢/w..»( C/ ,2018.

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HR‘ABLE ROYCE LAMBERTH

UNITED STATES DISTRICT JUDGE

